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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

EDWARD JAMAR PERSON,                   :       PRISONER CIVIL RIGHTS
   Plaintiff,                          :       42 U.S.C. § 1983
                                       :
      v.                               :
                                       :
SHERIFF VICTOR HILL et al.,            :       CIVIL ACTION NO.
    Defendants.                        :       1:22-CV-2572-CAP-JEM

                                     ORDER
      Plaintiff, Edward Jamar Person, confined in the Clayton County Jail in

Jonesboro, Georgia, submitted a document that the Clerk docketed as a pro se
civil rights complaint pursuant to 42 U.S.C. § 1983. (Doc. 1.) Plaintiff must (1)
complete and return a proper § 1983 complaint form, and (2) either (a) pay the
$350.00 filing fee and $52.00 administrative fee, or (b) complete and return a
proper application for leave to proceed in forma pauperis.
      The Clerk is DIRECTED to send Plaintiff a § 1983 complaint form and a

prisoner application for leave to proceed in forma pauperis, with the case number
for this action stamped on both of those forms. If Plaintiff wishes to proceed
with this case, he is ORDERED, within 30 DAYS from the date of this Order, to
(1) complete and return the § 1983 complaint form, and (2) either (a) pay the
$350.00 filing fee and $52.00 administrative fee, or (b) complete and return the
application for leave to proceed in forma pauperis with all required information,
signatures, certifications, and attachments.
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      Plaintiff must pay the $350.00 filing fee from his inmate account even if
he is allowed to proceed in forma pauperis. See 28 U.S.C. § 1915(b)(1).1 Regardless
of the outcome of this lawsuit, the Court will order Plaintiff’s custodian to
deduct, in monthly or other incremental installments, 20% of the preceding

month’s income credited to Plaintiff’s account, in each month in which the
account balance exceeds $10.00, until the $350.00 filing fee is paid in full. If
Plaintiff does not want funds deducted from his inmate account, he should file
a motion voluntarily dismissing this case.
      Plaintiff is CAUTIONED that this action may be dismissed for failure to
(1) comply with this Court’s Orders; see N.D. Ga. R. 41.3(A)(2); or (2) keep this
Court advised of Plaintiff’s current address; see id. 41.2(B).
      The Clerk is DIRECTED to resubmit this action to the undersigned
Magistrate Judge upon Plaintiff’s compliance with this Order or the expiration

of the 30-day period. Service of process shall not issue pending the Court’s
further consideration of this action under 28 U.S.C. § 1915A.
      SO ORDERED, this 20th day of July, 2022.




      1 The $52.00 administrative fee is waived when leave to proceed in forma
pauperis is granted.

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